Case 16-06031-TLM   Doc 5   Filed 11/08/16 Entered 11/08/16 15:44:25   Desc Main
                            Document      Page 1 of 4
Case 16-06031-TLM   Doc 5   Filed 11/08/16 Entered 11/08/16 15:44:25   Desc Main
                            Document      Page 2 of 4
Case 16-06031-TLM   Doc 5   Filed 11/08/16 Entered 11/08/16 15:44:25   Desc Main
                            Document      Page 3 of 4
Case 16-06031-TLM   Doc 5   Filed 11/08/16 Entered 11/08/16 15:44:25   Desc Main
                            Document      Page 4 of 4
